      Case 2:20-cv-01968-JCM-DJA Document 6
                                          5 Filed 11/02/20
                                                  10/30/20 Page 1 of 3




 1 Lars Evensen
   Nevada Bar No. 8061
 2 J. Malcolm DeVoy
   Nevada Bar No. 11950
 3 HOLLAND & HART LLP
   9555 Hillwood Drive
 4 Second Floor
   Las Vegas, NV 89134
 5 Telephone: 702-669-4600
   lkevensen@hollandhart.com
 6 jmdevoy@hollandhart.com

 7 Attorneys for Defendants
   Juan Rivas; ADT LLC of Delaware; and
 8 Johnson Controls Security Solutions LLC

 9
                            UNITED STATES DISTRICT COURT
10
                                   DISTRICT OF NEVADA
11

12 EDYTHE MAXINE HARTMAN, a Nevada
   resident,                                  CASE NO. 2:20-cv-01968-JCM-DJA
13
                    Plaintiff,
14
   vs.
15
   JUAN RIVAS, a Nevada resident; UTC
16 FIRE & SECURITY AMERICAS
   CORPORATION, INC., d/b/a
17 INTERLOGIX, a corporation; ADT LLC OF
   DELAWARE, d/b/a ADT, a foreign limited
18 liability company; JOHNSON CONTROLS
   SECURITY SOLUTIONS LLC, a foreign
19 limited liability company; ROE
   MANUFACTURER; ROE COMPONENT
20 PARTS MANUFACTURER; ROE
   DISTRIBUTOR; ROE ADT SECURITY
21 DEALER; ROE ADT PRODUCT
   INSPECTOR; ROE ADT PRODUCT
22 DESIGNER; DOES 1-20; and ROE
   BUSINESS ENTITIES 1-20, inclusive,
23
                    Defendants.
24

25                           DEFENDANTS JUAN RIVAS,
                UTC FIRE & SECURITY AMERICAS CORPORATION, INC.,
26                          ADT LLC OF DELAWARE, AND
         JOHNSON CONTROLS SECURITY SOLUTIONS LLC’S STIPULATION FOR AN
27            EXTENTION OF TIME TO FILE FIRST RESPONSIVE PLEADING

28                                    [FIRST REQUEST]

     4846-5501-1280 v1
        Case 2:20-cv-01968-JCM-DJA Document 6
                                            5 Filed 11/02/20
                                                    10/30/20 Page 2 of 3




 1           The parties hereby stipulate and agree to a 50-day extension of time for Defendants Juan Rivas

 2 (“Mr. Rivas”); UTC Fire & Security America Corporation, Inc., d/b/a Interlogix (“UTC/Interlogix”);

 3 ADT LLC of Delaware (“ADT”); and Johnson Controls Security Solutions LLC (“JCSS”) to each file

 4 their respective responsive pleading responsive to the Complaint [ECF 1-1], and respectfully request

 5 that the Court approve the parties’ stipulation for the following reasons:

 6           1.          Plaintiff Edythe Maxine Hartman (“Plaintiff”) filed her Complaint on September 18,

 7 2020 in the Eighth Judicial District Court in and for Clark County, Nevada, Case No. A-20-821415-C.

 8           2.          ADT and JCSS filed their Notice of Removal on October 23, 2020 [ECF 1], making

 9 their responsive pleadings to the Complaint due on October 30, 2020 under Federal Rule of Civil

10 Procedure 81(c)(2)(C).

11           3.          Counsel for Plaintiff is in the process of determining whether to join additional, and

12 potentially indispensable, parties and modify the caption to identify the proper parties in interest.

13 Additionally, counsel for JCSS has requested that it be dismissed from the action on the grounds that

14 it is an improper party and has no business relationship with the Plaintiff. These issues are currently

15 under examination and determination.

16           Counsel for Plaintiff and Defendants therefore respectfully request that the Court approve the

17 parties’ stipulation for a 50-day extension, allowing Mr. Rivas, UTC/Interlogix, ADT, and JCSS, to

18 respond to the Complaint on or before Thursday, December 17, 2020.

19           This is the parties’ first request for an extension of the responsive pleading deadline in this

20 action. The parties have requested a 50-day extension in order to avoid seeking subsequent extensions

21 from the Court.           Additionally, based on the potential changes in party composition under

22 consideration since ADT and JCSS appeared in this action, this extension promotes judicial efficiency

23 and conserves party resources by allowing the addition, subtraction, or substitution of parties to be

24 determined before responsive pleadings and potential dispositive motion practice commences. The

25 parties seek this extension in good faith and in consideration of the following premises, and not for the

26 purposes of delay.

27 //

28                                                         2
     4846-5501-1280 v1
      Case 2:20-cv-01968-JCM-DJA Document 6
                                          5 Filed 11/02/20
                                                  10/30/20 Page 3 of 3




 1           RESPECTFULLY SUBMITTED this 30th day of October, 2020.

 2    By:/s/Breanna K. Hartmann                   By: /s/ J. Malcolm DeVoy
        James D. Urrutia                             Lars Evensen
 3      Breanna K. Hartmann                          Nevada Bar No. 8061
        MAINOR WIRTH, LLP                            J. Malcolm DeVoy
 4      6018 South Apache Road                       Nevada Bar No. 11950
        Suite 150                                    HOLLAND & HART LLP
 5      Las Vegas, NV 89148                          9555 Hillwood Drive
        Telephone: 702-464-5000                      Second Floor
 6      Facsimile: 702-463-4440                      Las Vegas, NV 89134
        james@mwinjury.com                           Telephone: 702-669-4600
 7      bree@mwinjury.com                            lkevensen@hollandhart.com
                                                     jmdevoy@hollandhart.com
 8       Attorneys for Plaintiff
         Edythe Maxine Hartman                        Attorneys for Defendants
 9                                                    Juan Rivas; ADT LLC of Delaware; and
                                                      Johnson Controls Security Solutions LLC
10
                                                  By: /s/ Rebecca Mastrangelo
11                                                   Nevada Bar No. 5417
                                                     Rebecca Mastrangelo
12                                                   ROGERS, MASTRANGELO, CARVALHO
                                                     & MITCHELL
13                                                   700 South Third Street
                                                     Las Vegas, NV 89101
14                                                   Telephone: 702-383-3400
                                                     Facsimile: 702-384-1460
15                                                   rmastrangelo@rmcmlaw.com
16                                                    Attorneys for Defendant
                                                      UTC Fire & Security America Corporation,
17                                                    Inc., d/b/a Interlogix
18
                                         [PROPOSED] ORDER
19
             In light of the foregoing and upon a finding of good cause, it is hereby ORDERED that the
20
     deadline for defendants Mr. Rivas, UTC/Interlogix, ADT, and JCSS, to answer or otherwise respond
21
     to the Complaint [ECF No. 1-1] shall be by or before Thursday, December 17, 2020.
22

23 IT IS SO ORDERED.

24 DATE: November 2, 2020

25
                                                         UNITEDJ.STATES
                                                         DANIEL         DISTRICT JUDGE
                                                                  ALBREGTS
26
                                                         UNITED STATES MAGISTRATE JUDGE
27

28                                                   3
     4846-5501-1280 v1
